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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

STEPHANIE ROSALES, on behalf of                  §
herself and others similarly situated,           §
                                                 §
          Plaintiff,                             §
                                                 §
v.                                               §    CIVIL ACTION NO. 3:18-CV-00356-B
                                                 §
EQUINOX HOLDINGS, INC.,                          §
                                                 §
          Defendant.                             §

                 DEFENDANT’S APPENDIX IN SUPPORT OF ITS
              OPPOSITION TO PLAINTIFF’S FIRST STAGE MOTION
     FOR NOTICE TO POTENTIAL PLAINTIFFS & CONDITIONAL CERTIFICATION

          Defendant Equinox Holdings, Inc. submits this Appendix in Support of its Opposition to

Plaintiff Stephanie Rosales’s First Stage Motion for Notice to Potential Plaintiffs & Conditional

Certification:

Exhibit         Description                                                      Page
1               Declaration of Talley R. Parker                                  App. 001 - 003
1-A             Deposition of Stephanie Rosales                                  App. 004 - 080
1-B             Deposition of Guy Seaman                                         App. 081 - 151
2               Declaration of Michael Laird                                     App. 152 - 158
2-A             Equinox’s Employee Handbook                                      App. 159 - 202
2-B             Equinox’s Personal Trainer Job Description                       App. 203 - 205
2-C             Equinox’s 2017 Personal Trainer Activities Included Towards      App. 206 - 207
                Benefit Eligibility
2-D             Equinox’s Floor Shift and Productivity Agreement SOP             App. 208 - 209
2-E             Equinox’s Personal Trainer Compensation Summary, Effective       App. 210 - 215
                December 1, 2016, Non-California Market




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DATED: March 28, 2019                               Respectfully submitted,

                                                    /s/ Talley R. Parker
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                                                    ATTORNEYS FOR DEFENDANT
                                                    EQUINOX HOLDINGS, INC.

                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Appendix was served upon the attorneys of record in

the above cause in accordance with Rule 5 of the Federal Rules of Civil Procedure on this 28th

day of March 2019.

                                                    /s/ Talley R. Parker
                                                    Talley R. Parker




DEFENDANT’S APPENDIX IN SUPPORT OF ITS
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FOR NOTICE TO POTENTIAL PLAINTIFFS & CONDITIONAL CERTIFICATION                           PAGE 2
